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 9
10   Attorneys for Defendant
     HELIOS RAPHAEL DAYSPRING
11
12
                        UNITED STATES DISTRICT COURT
13
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,                No: CR 21-343-AB
16                     Plaintiff,             STIPULATION TO CONTINUE
                                              THE SENTENCING HEARING
17               v.
                                              Current Sentencing Date:
18   HELIOS RAPHAEL DAYSPRING,                April 22, 2022
     aka “Bobby Dayspring,”                   Hearing Time: 1:30 p.m.
19
                       Defendant.             Proposed Sentencing Date:
20                                            May 27, 2022
                                              Hearing Time: 1:30 p.m.
21
                                              Location:   Courtroom 7B of the
22                                                        Hon. André Birotte Jr.
23   ________________________________
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25   ///
26   ///
27   ///
28
     7190121_1                               1
                      STIPULATION TO CONTINUE THE SENTENCING HEARING
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 1                                       STIPULATION
 2   Defendant Helios Raphael Dayspring, both individually and by and through his
 3   counsel of record, and Plaintiff United States of America, by and through its counsel
 4   of record, hereby file this stipulation to request an order continuing the sentencing
 5   hearing in this matter, which is currently set for April 22, 2022, at 1:30 p.m., to May
 6   27, 2022, at 1:30 p.m., for the reasons stated herein.
 7
            1.     On October 22, 2021, defendant Dayspring plead to an information
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     charging him with one count of federal program bribery in violation of 18 U.S.C. §
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     666(a)(2), and subscribing to a false income tax return, in violation of 26 U.S.C. §
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     7206(1).
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            2.     Sentencing for defendant was initially set for February 11, 2022.
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     Pursuant to the unopposed ex parte application of the defendant, sentencing was
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     ordered continued to April 22, 2022.
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            3.     Counsel for defendant is involved in a trial in Boston that is beginning
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     on April 4, 2022, and is expected to run through April 22, 2022, and into the
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     following week. Based upon that Court’s current scheduling of matters, which was
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     provided last week to counsel for defendant herein, the trial is not anticipated to go
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     to the jury until the last week in April at the earliest resulting in a conflict in
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     defense counsel’s ability to be present before this Court and to otherwise fully
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     assist in the defendant’s representation herein.
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                        STIPULATION TO CONTINUE THE SENTENCING HEARING
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 1            4.        Based upon the foregoing, the parties respectfully request that the
 2   Court continue sentencing in this matter to Friday, May 27, 2022, at 1:30 p.m.1
 3
     Dated: March 30, 2022                                    Respectfully submitted,
 4
 5                                                            _______________________________
                                                              SANDRA BROWN-BODNER, ESQ.
 6
                                                              ERIC D. SHEVIN, ESQ.
 7                                                            Shevin Law Group
 8
                                                              Attorneys for Defendant
 9                                                            Helios Raphael Dayspring
10
11   Dated: March 30, 2022                                     /s/ Thomas F. Rybarczyk
                                                              _______________________________
12                                                            THOMAS F. RYBARCZYK
                                                              Assistant United States Attorney
13
14                                                            Attorneys for Plaintiff
                                                              United States of America
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       The Defense also notes that, on March 15, 2022, the authorizations granted in Order of the Chief Judge No. 20-043
27   were determined to continue to be warranted and thus, pursuant to Section 15002(b) of the CARES Act and having
     conducted the necessary review, the Chief Judge extended all findings and authorizations in Order of the Chief Judge
28   No. 20-043 until May 28, 2022, unless terminated earlier. It is thus, hopeful that this additional time will also facilitate,
     if deemed appropriate, the ability of the defense to safely appear in person for sentencing.
     7190121_1                                                   3
                              STIPULATION TO CONTINUE THE SENTENCING HEARING
